                        Case 1-24-45433-ess              Doc 1-2         Filed 12/31/24            Entered 12/31/24 15:26:10



      Fill in this information to identify the case:

      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code      email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                              contact                        debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

1
       Queens GC
       5218 19
       Brooklyn NY 11204                                                     Goods/Services                                                            253,162
2
      Apartment Developers LLC
      735 Bedford Ave
      Brooklyn NY 11205                                                       Goods/Services                                                            222,148
3
      1 Seal Usa LLC
      544 Park Ave #431
      Brooklyn NY 11205                                                      Goods/Services                                                             192,170
       Ra Engineering LLP
4

       512 7th Ave 6th floor
       NY, NY 10018                                                          Goods/Services                                                             96,775
5
      20/20 Inspections Inc.
      3716 Fort Hamilton Parkway, Suite 100
      Brooklyn, NY 11218                                                     Goods/Services                                                             91,176
6
      Quality Facility Solutions
      199 Lee Avenue, Suite #297                                              Goods/Services
      Brooklyn, NY 11211                                                                                                                                 88,552
7
      Brooklyn Steel Services
      65 13th St.
                                                                              Goods/Services
      Brooklyn, NY 11215                                                                                                                                80,250
8

       Con Edison                                                            Goods/Services                                                             71,902

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    Debtor       _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated, total claim amount and deduction for value of
                                                                         services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff

9
     ECO USA LLC
     100A BROADWAY - SUITE 188                                           Goods/Services
     BROOKLYN NY 11249                                                                                                                               67,910
10
      Big Apple Testing
      9 Brooklyn Ave.
      New Hyde Park, NY 11040                                              Goods/Services                                                            46,425
11
      Moses Katz & Associates
      389 Wiloughby Ave #101                                               Goods/Services
      Brooklyn NY 11205                                                                                                                              32,980
12
      Alumil Supply LLC
      100A Broadway #155                                                   Goods/Services
      Brooklyn NY 11249                                                                                                                              30,337
13
      NYC Electrical Contracting Inc.
      185 Spencer Street
      Brooklyn, NY 11205                                                 Goods/Services                                                              27,060
14
      Guma Corp.
      240 Water Street                                                     Goods/Services
      Brooklyn, NY 11201                                                                                                                            17,317
15   ODA Architectural
     250 Park Avenue South
     Third Floor                                                           Goods/Services
     New York, NY 10003                                                                                                                             16,666
16
     Blank Rome
     1271 Avenue of American                                               Goods/Services
     NY, NY 10020                                                                                                                                    13,519
17
      Elite Expediting
      1155 47th Street
      Brooklyn NY 11219                                                  Goods/Services                                                              13,500
18
     Rent A Unit
     543 Bedford Ave. suite#243
     Brooklyn, NY 11211                                                  Goods/Services                                                             12,432
19
     Connect Direct Communications Inc.
     27 Bluefield DR. unit201
     Spring Valley, NY 10977                                             Goods/Services                                                             10,870
20
      Ben Rottenstein Associates Inc.
      147 Prince Street                                                    Goods/Services
      Brooklyn, NY 11201                                                                                                                            10,000


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